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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

DMITRI ANDERSON,

                       Petitioner,                    Case No. 1:14-cv-169
v.                                                    Honorable Gordon J. Quist
SHERRY BURT,

                       Respondent.
____________________________/

                            REPORT AND RECOMMENDATION

               This is a habeas corpus action brought by a state prisoner under 28 U.S.C. § 2254.

Petitioner Dmitri Anderson is incarcerated with the Michigan Department of Corrections at the

Ionia Correctional Facility (ICF) in Ionia, Michigan. Following a jury trial in the Ottawa County

Circuit Court, Petitioner was convicted of two counts of first-degree murder, Mich. Comp. Laws

§ 750.316, and one count of armed robbery, Mich. Comp. Laws § 750.529. Petitioner was

convicted of first-degree murder on both theories presented by the prosecutor—premeditation and

felony murder—as to both counts. On March 23, 2009, the court sentenced Petitioner to life

imprisonment without eligibility for parole on the murder convictions and 37 years, 6 months to

56 years, 3 months for the armed robbery conviction.

               On February 14, 2014, Petitioner filed his habeas corpus petition. Under Sixth

Circuit precedent, the application is deemed filed when handed to prison authorities for mailing to

the federal court. Cook v. Stegall, 295 F.3d 517, 521 (6th Cir. 2002). Petitioner placed his petition

in the prison mailing system on February 14, 2014. (Pet., ECF No. 1, PageID.14.)

               The petition identifies four grounds for relief, paraphrased as follows:
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       I.      Unfair trial, violation of due process. Judge allowed the prosecutor to use
               a home invasion that was not connected to Petitioner in any way at
               Petitioner’s murder trial. This was done to connect Petitioner to a gun. The
               prosecutor used testimony known to be perjured.

       II.     Prosecutorial misconduct. When detectives contacted my alibi witness and
               paid him to change his testimony to what detectives wanted him to say. The
               prosecutor withheld exculpatory evidence that was revealed in the
               presentence investigation report.

       III.    Insufficient evidence. Nothing but speculation. Nothing places Petitioner
               at this crime. No witness places Petitioner at this crime on the day of the
               crime.

       IV.     Ineffective assistance of counsel, trial and appellate. Counsel did not
               prepare for trial and did not call witness Petitioner requested to be present.

(Pet., ECF No. 1, PageID.6-10.) Respondent has filed an answer to the petition (ECF No. 8) stating

that the grounds should be denied because they are meritless or relief is barred by Petitioner’s

procedural default. Upon review and applying the standards of the Antiterrorism and Effective

Death Penalty Act of 1996, Pub. L. 104-132, 110 Stat. 1214 (AEDPA), I find that the grounds are

without merit or relief and is barred by the doctrine of procedural default. Accordingly, I

recommend that the petition be denied.

                                            Discussion

               I.     Factual Allegations

               At about 3:30 p.m., on July 2, 2008, Stephani Czadzeck returned from running

errands to her job at her father’s business, R&K Jewelry on Washington Street in Grand Haven,

Michigan. (Trial Tr. II, ECF No. 9-13, PageID.719-803.) She found her father, Robert Karell, on

the floor of his office in the back of the store. (Id., PageID.759-760) The safe in his office had

been ransacked. (Id., PageID.765-775.) Robert Karell and an R&K customer, Lewis Paparella,

had been shot in the back of the head. (Id., PageID.692-693, 704-705.) Both were dead. (Trial

Tr. I, ECF No. 9-12, PageID.640.) The robbery likely occurred between approximately 3:00 and


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3:30 p.m. that day. (Id., PageID.664-667; Trial Tr. II, ECF No. 9-13, PageID.756.) There were

no witnesses.

                The investigators went to work. They matched a fingerprint on a cigar box found

in the office to Darick Anderson, Petitioner’s brother. (Trial Tr. II, ECF No. 9-13, PageID.853.)

The investigation progressed. Searches at Darick Anderson’s house turned up items taken from

R&K. (Id., PageID.859-863.) They also turned up rolls of coins that had been taken in a home

invasion a couple of days before the R&K robbery. (Id.; see also PageID.898-905.) A Ruger 22

was stolen at the same time those coins were taken. (Id.) A Ruger 22 could have fired the bullets

and casings found at R&K. (Trial Tr. II, ECF No. 9-13, PageID.820-821.)

                Because Petitioner’s brother had been identified as a suspect, investigators also

questioned Petitioner in a series of interviews. (Trial Tr. III, ECF No. 9-14, PageID.1115.)

Eventually, Petitioner disclosed that he had seen Darick in the evening on July 2 with lots of cash,

a black box (one of the items taken from the safe), and a magazine from a handgun. (Trial Tr. IV,

ECF No. 9-17, PageID.1230-1268.) Petitioner even told the police where Darick had disposed of

the magazine. (Trial Tr. III, ECF No. 9-14, PageID.1026.) The magazine was no longer there, but

police identified a maintenance worker who had seen and relocated the magazine.                (Id.,

PageID.1026-1030.) Petitioner also pointed police in the direction of a home where Petitioner

thought Darick might have hidden the gun. (Trial Tr. IV, ECF No. 9-17, PageID.1244-1245.)

Police eventually found the gun buried in the backyard at that home. (Id.)

                Petitioner essentially acknowledged that his brother participated in the R&K

robbery. Petitioner just claimed he did not participate himself. Investigators worked to pin down

Petitioner’s location at the time of the robbery. Based on cell phone records and the testimony of

Petitioner’s wife and brother-in-law, investigators were able to put Petitioner at Darick’s house at



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some time after 2:00 p.m. on July 2. (Trial Tr. III, ECF No. 9-14, PageID.1000-1018, 1069-1112;

Trial Tr. IV, ECF No. 9-17, PageID.1272-1291, 1305-1309.) At about that time, Petitioner’s cell

phone and Darick’s cell phone became inactive for about eighty minutes, as if they had been turned

off. (Trial Tr. III, ECF No. 9-14, PageID.1102-1105.) That window of time would have been

enough to travel to Grand Haven and commit the murders and robbery.

               Although Petitioner denied involvement in the robbery during his interviews with

the police, he was more forthcoming with fellow inmates in county and state facilities where he

was detained. Two of Petitioner’s former fellow inmates testified that Petitioner had confessed

his involvement to them. (Trial Tr. Excerpt-Testimony of Anthony Wright, ECF No. 9-15; Trial

Tr. Excerpt-Testimony of Darnell Brown, ECF No. 9-16.)

               With the wealth of evidence against Darick, the circumstantial evidence placing

Petitioner with Darick, and Petitioner’s own jailhouse confessions, the jury heard enough to

convict Petitioner of first-degree murder and armed robbery. (Trial Tr. V, ECF No. 9-18,

PageID.1524-1526.)

               Although not directly relevant to Petitioner’s conviction or this petition, Darick

Anderson was tried and convicted of the same charges two months after Petitioner. People v.

Anderson, No. 292072, 2010 WL 3984801 (Mich. Ct. App. Oct. 12, 2010). Darick testified at his

trial. Id. at *1. During his testimony, Darick admitted he buried the Ruger, he also admitted being

present during the robbery, but he denied shooting the victims. Id. He refused to identify who

else may have committed the crime or shot the victims and insisted that his brother was innocent.

               Petitioner, with the assistance of counsel, directly appealed his convictions. He

raised one issue:

       I.      The evidence was insufficient to prove Petitioner was present at the scene
               of the crimes.

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Petitioner, dissatisfied with his appointed counsel, also filed a Standard 4 brief. Michigan Supreme

Court Administrative Order 2004–6 sets forth minimum standards for indigent criminal appellate

defense services, including the following:

       Standard 4

       When a defendant insists that a particular claim or claims be raised on appeal
       against the advice of counsel, counsel shall inform the defendant of the right to
       present the claim or claims in propria persona. Defendant's filing shall consist of
       one brief filed with or without an appropriate accompanying motion. Counsel shall
       also provide such procedural advice and clerical assistance as may be required to
       conform the defendant's filing for acceptability to the court. The defendant's filing
       in propria persona must be received by the Court of Appeals within 84 days after
       the appellant's brief is filed by the attorney. . . .

Mich. Admin. Order No. 2004–6. Petitioner’s Standard 4 brief raised several new issues,

paraphrased as follows:

       II.     Should the court appoint substitute appellate counsel due to a breakdown in
               the attorney-client relationship.

       III.    Petitioner was denied due process and a fair trial because the police and
               prosecutor focused their investigation seeking and gathering questionable
               evidence and overlooking competent evidence despite ethical requirements
               to the contrary.

       IV.     Petitioner was denied effective assistance of trial counsel due to
               multifaceted errors and omissions, including counsel’s failure to investigate
               so as to learn that the prosecutor tended to withhold exculpatory evidence;
               counsel’s failure to pursue leads provided by Petitioner; counsel’s failure to
               “pose probative questions to skillfully unmask bias” and to “weigh the
               highly questionable evidence more carefully”; counsel’s failure to seek a
               change of venue; counsel failed to seek discovery regarding Michigan State
               Police Crime Lab reports that disclosed biological material at the crime
               scene did not match Petitioner; counsel’s failure to object to “Darick said”
               hearsay testimony; counsel’s failure to discover a deal offered to witness
               David Jewel; counsel failed to call witnesses or effectively examine
               witnesses regarding Petitioner’s whereabouts on the date of the crime; and
               counsel’s failure to call R&K customers to confirm the time on their receipt
               which altered the robbery timeline.

       V.      Petitioner was denied due process and a fair trial by the suppression or non-
               use of known exculpatory DNA evidence that does not match him, and
               would plausibly lead to the identity of a perpetrator or perpetrators.

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       VI.     Substantive due process urges a polygraph examination for Petitioner and a
               highly suspect informant to aid a motion for new trial.

(Pet’r’s Standard 4 Br., ECF No. 9-20, PageID.1597-1624.) By unpublished opinion issued

October 7, 2010, the Michigan Court of Appeals rejected all of Petitioner’s challenges and

affirmed his convictions. (Mich. Ct. App. Op., ECF No. 9-20, PageID.1542-1549.)

               Petitioner then filed a pro per application for leave to appeal in the Michigan

Supreme Court raising the same six issues he had raised in the Michigan Court of Appeals. By

order entered March 8, 2011, the Michigan Supreme Court denied leave to appeal. (Mich. Order,

ECF No. 9-21, PageID.1637.)

               About one year later, Petitioner filed a motion for relief from judgment in the

Ottawa County Circuit Court. (Pet’r’s Mot for Relief from J., ECF No. 9-22, PageID.1768-1774.)

In Petitioner’s motion, he raised several new issues, paraphrased as follows:

       VII.    Petitioner’s federal and state constitutional rights were denied by ineffective
               assistance of trial and appellate counsel’s omissions and commissions
               during either his trial or on his appeal of right, “good cause” and “actual
               prejudice” is subsumed by the predicate interest of both attorneys to provide
               Petitioner with the effective assistance of counsel warranting post-judgment
               relief.

       VIII.   Defense counsel failed to subject the prosecution’s case to a true adversarial
               testing of legalities on the subject of circumstantial and tainted evidence,
               and failure to investigate the case per se, Petitioner was denied the effective
               assistance of counsel when counsel failed to (a) hire a private investigator;
               (b) investigate the prosecution’s witnesses and ascertain to what extent their
               testimony during trial would be reliable and credible; and (c) subpoena
               Petitioner’s co-defendant as a witness who had eventually testified in his
               own defense and testified that Petitioner was not at the crime scene.

       IX.     Petitioner was denied his rights to due process and a fair trial because of the
               prosecutor’s misconduct, including (a) eliciting perjured testimony from
               witnesses; (b) vouching for the credibility of witnesses; (c) arguing facts not
               in evidence; (d) asserting the prosecutor’s personal belief in Petitioner’s
               guilt; and (e) withholding evidence that disclosed res gestae witnesses who
               witnessed the crime scene moments after the crimes were committed.



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       X.      Witnesses at Petitioner’s trial recanted their testimony in affidavits that
               divulge they were offered deals and afraid of the police and deliberately
               fabricated their testimony to benefit their own personal interests; therefore,
               Petitioner should be granted a new trial.

       XI.     The trial court impermissibly allowed the prosecutor to introduce evidence
               of another crime to establish motive and associate Petitioner to a gun which
               is not the murder weapon, Petitioner was never charged with the crime,
               Petitioner never possessed the gun. No limiting instruction could mitigate
               the prejudice.

(Id.) The trial court denied Petitioner’s motion initially and then upon reconsideration. Petitioner

sought leave to appeal in the Michigan Court of Appeals and the Michigan Supreme Court. Those

courts denied leave by orders entered July 13, 2013, and December 23, 2013. (Mich. Ct. App.

Ord., ECF No. 9-26, PageID.1863; Mich. Order, ECF No. 9-27, PageID.1929.) Petitioner timely

filed his habeas petition on February 14, 2014.

               II.     AEDPA Standard

               This action is governed by the Antiterrorism and Effective Death Penalty Act of

1996, Pub. L. 104-132, 110 Stat. 1214 (AEDPA). The AEDPA “prevents federal habeas ‘retrials’”

and ensures that state court convictions are given effect to the extent possible under the law. Bell

v. Cone, 535 U.S. 685, 693-94 (2002). An application for writ of habeas corpus on behalf of a

person who is incarcerated pursuant to a state conviction cannot be granted with respect to any

claim that was adjudicated on the merits in state court unless the adjudication: “(1) resulted in a

decision that was contrary to, or involved an unreasonable application of, clearly established

federal law as determined by the Supreme Court of the United States; or (2) resulted in a decision

that was based upon an unreasonable determination of the facts in light of the evidence presented

in the state court proceeding.” 28 U.S.C. § 2254(d). This standard is “intentionally difficult to

meet.” Woods v. Donald, 575 U.S. __, 135 S. Ct. 1372, 1376 (2015) (internal quotation omitted).




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                The AEDPA limits the source of law to cases decided by the United States Supreme

Court. 28 U.S.C. § 2254(d). This Court may consider only the holdings, and not the dicta, of the

Supreme Court. Williams v. Taylor, 529 U.S. 362, 412 (2000); Bailey v. Mitchell, 271 F.3d 652,

655 (6th Cir. 2001). In determining whether federal law is clearly established, the Court may not

consider the decisions of lower federal courts. Williams, 529 U.S. at 381-382; Miller v. Straub,

299 F.3d 570, 578-79 (6th Cir. 2002). Moreover, “clearly established Federal law” does not

include decisions of the Supreme Court announced after the last adjudication of the merits in state

court. Greene v. Fisher, 565 U.S. 34 (2011). Thus, the inquiry is limited to an examination of the

legal landscape as it would have appeared to the Michigan state courts in light of Supreme Court

precedent at the time of the state-court adjudication on the merits. Miller v. Stovall, 742 F.3d 642,

644 (6th Cir. 2014) (citing Greene, 565 U.S. at 38).

                A federal habeas court may issue the writ under the “contrary to” clause if the state

court applies a rule different from the governing law set forth in the Supreme Court’s cases, or if

it decides a case differently than the Supreme Court has done on a set of materially

indistinguishable facts. Bell, 535 U.S. at 694 (citing Williams, 529 U.S. at 405-06). “To satisfy

this high bar, a habeas petitioner is required to ‘show that the state court’s ruling on the claim being

presented in federal court was so lacking in justification that there was an error well understood

and comprehended in existing law beyond any possibility for fairminded disagreement.’” Woods,

135 S. Ct at 1376 (quoting Harrington v. Richter, 562 U.S. 86, 103 (2011)). In other words,

“[w]here the precise contours of the right remain unclear, state courts enjoy broad discretion in

their adjudication of a prisoner’s claims.” White v. Woodall, 572 U.S. ___, 134 S. Ct. 1697, 1705

(2014) (internal quotations omitted).




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               The AEDPA requires heightened respect for state factual findings. Herbert v. Billy,

160 F.3d 1131, 1134 (6th Cir. 1998). A determination of a factual issue made by a state court is

presumed to be correct, and the petitioner has the burden of rebutting the presumption by clear and

convincing evidence. 28 U.S.C. § 2254(e)(1); Lancaster v. Adams, 324 F.3d 423, 429 (6th Cir.

2003); Bailey, 271 F.3d at 656. This presumption of correctness is accorded to findings of state

appellate courts, as well as the trial court. See Sumner v. Mata, 449 U.S. 539, 546 (1981); Smith

v. Jago, 888 F.2d 399, 407 n.4 (6th Cir. 1989).

               III.   404(b) evidence (Habeas Issue I)

               Witness Dan Anderson testified that a couple of days before the Grand Haven

robbery, his home was burgled. Mr. Anderson described several items that were missing including

rolls of coins, a knife, and a handgun. Mr. Anderson identified the handgun that police dug up as

the handgun that was taken from his home.

               Prior to trial, the prosecutor moved for admission of Mr. Anderson’s testimony

under Michigan Rule of Evidence 404(b). (Mot. in Limine, ECF No. 9-4, PageID.350-353.) The

prosecutor did not seek to admit the evidence to show that Petitioner committed the robbery, only

to show where the gun came from and that neither the registered owner nor the rightful possessor

of the gun were involved in the R&K robbery. The court permitted the testimony for those reasons.

(Rule 404(b) Mot. Hr’g Tr., ECF No. 9-6, PageID.369-371.)

               Petitioner claims that the evidence was offered to show that he had a propensity to

commit crimes for the purpose of showing that he acted in conformity with that propensity in

connection with the R&K robbery. Petitioner claims introduction of the home invasion evidence

rendered his trial fundamentally unfair and violated his due process rights.




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               Petitioner raised this issue for the first time in his motion for relief from judgment.

The trial court refused to consider the claim because Petitioner could have raised it during his

direct appeal, but he did not. (Ottawa Cty. Cir. Ct. Op., ECF No. 9-23, PageID.1850.) The court

concluded that Petitioner had failed to show cause for that failure, thus relief was barred. (Id.,

PageID.1850-1853.)

               When a state-law default prevents further state consideration of a federal issue, the

federal courts ordinarily are precluded from considering that issue on habeas corpus review. See

Ylst v. Nunnemaker, 501 U.S. 797, 801 (1991); Engle v. Isaac, 456 U.S. 107 (1982). To determine

whether a petitioner procedurally defaulted a federal claim in state court, the Court must consider

whether: (1) the petitioner failed to comply with an applicable state procedural rule; (2) the state

court enforced the rule so as to bar the claim; and (3) the state procedural default is an “independent

and adequate” state ground properly foreclosing federal habeas review of the federal constitutional

claim. See Hicks v. Straub, 377 F.3d 538, 551 (6th Cir. 2004); accord Lancaster, 324 F.3d at 436-

37; Greer v. Mitchell, 264 F.3d 663, 672 (6th Cir. 2001); Buell v. Mitchell, 274 F.3d 337, 348 (6th

Cir. 2001). In determining whether a state procedural rule was applied to bar a claim, a reviewing

court looks to the last reasoned state-court decision disposing of the claim. See Ylst, 501 U.S. at

803; Guilmette v. Howes, 624 F.3d 286, 291 (6th Cir. 2010). Here, the last reasoned state-court

decision is the trial court’s order resolving Petitioner’s motion for relief from judgment.

               There is no question that Petitioner failed to comply with the requirement to raise

his post-judgment motion issues on direct appellate review; thus, he failed to follow the state

procedural rule. The state court expressly relied upon Petitioner’s default in denying his claim. It

is also beyond dispute that the procedural rule is an adequate and independent ground for denying

relief. A rule is an adequate and independent ground when it was “firmly established and regularly



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followed” at the time of the asserted procedural default. Rogers v. Howes, 144 F.3d 990, 992 (6th

Cir. 1998) (citing Ford v. Georgia, 498 U.S. 411, 423-24 (1991)). Mich. Ct. Rule 6.508(D)(3)

“was firmly established and regularly followed . . . and was an adequate and independent state

ground for denying review.” Gates v. Hoffner, No. 17-2198, 2018 WL 1614261, at *2 (6th Cir.

Mar. 23, 2018) (citing Simpson v. Johnson, 238 F.3d 399, 407 (6th Cir. 2000)).

               To overcome the procedural default bar, the petitioner must demonstrate either (1)

cause for his failure to comply with the state procedural rule and actual prejudice flowing from the

violation of federal law alleged in his claim, or (2) that a lack of federal habeas review of the claim

will result in a fundamental miscarriage of justice. See House v. Bell, 547 U.S. 518, 536 (2006);

Murray v. Carrier, 477 U.S. 478, 495 (1986); Hicks, 377 F.3d at 551-52.              In this instance,

however, the Court will forego that analysis and simply address Petitioner’s claim on the merits.

Federal courts are not required to address a procedural-default issue before deciding against the

petitioner on the merits. See Hudson v. Jones, 351 F.3d 212, 216 (6th Cir. 2003) (citing Lambrix

v. Singletary, 520 U.S. 518, 525 (1997) (“Judicial economy might counsel giving the [other]

question priority, for example, if it were easily resolvable against the habeas petitioner, whereas

the procedural-bar issue involved complicated issues of state law.”), and Nobles v. Johnson, 127

F.3d 409, 423-24 (5th Cir. 1997) (deciding against the petitioner on the merits even though the

claim was procedurally defaulted)). See also 28 U.S.C. § 2254(b)(2) (“An application for a writ

of habeas corpus may be denied on the merits, notwithstanding the failure of the applicant to

exhaust the remedies available in the courts of the State.”). Where, as here, the procedural default

issue raises more questions than the case on the merits, the Court may assume without deciding

that there was no procedural default or that Petitioner could show cause and prejudice for that

default. See Hudson, 351 F.3d at 215-16; Binder v. Stegall, 198 F.3d 177, 178 (6th Cir. 1999).



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               The extraordinary remedy of habeas corpus lies only for a violation of the

Constitution. 28 U.S.C. § 2254(a). As the Supreme Court explained in Estelle v. McGuire, 502

U.S. 62 (1991), an inquiry whether evidence was properly admitted or improperly excluded under

state law “is no part of the federal court’s habeas review of a state conviction [for] it is not the

province of a federal habeas court to re-examine state-court determinations on state-law

questions.” Id. at 67-68. Rather, “[i]n conducting habeas review, a federal court is limited to

deciding whether a conviction violated the Constitution, laws, or treaties of the United States.” Id.

at 68. State-court evidentiary rulings cannot rise to the level of due process violations unless they

offend some principle of justice so rooted in the traditions and conscience of our people as to be

ranked as fundamental. Seymour v. Walker, 224 F.3d 542, 552 (6th Cir. 2000) (quotation omitted);

accord Coleman v. Mitchell, 268 F.3d 417, 439 (6th Cir. 2001); Bugh v. Mitchell, 329 F.3d 496,

512 (6th Cir. 2003). This approach accords the state courts wide latitude in ruling on evidentiary

matters. Seymour, 224 F.3d at 552 (6th Cir. 2000).

               Further, under the AEDPA, the court may not grant relief if it would have decided

the evidentiary question differently. The court may only grant relief if Petitioner is able to show

that the state court’s evidentiary ruling was in conflict with a decision reached by the Supreme

Court on a question of law or if the state court decided the evidentiary issue differently than the

Supreme Court did on a set of materially indistinguishable facts. Sanders v. Freeman, 221 F.3d

846, 860 (6th Cir. 2000). Petitioner has not met this difficult standard.

               There is no clearly established Supreme Court precedent that holds that a state court

violates the Due Process Clause by permitting propensity evidence in the form of other bad acts

evidence. In Estelle v. McGuire, the Supreme Court declined to hold that the admission of prior

acts evidence violated due process. Estelle, 502 U.S. at 75. The Court stated in a footnote that,



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because it need not reach the issue, it expressed no opinion as to whether a state law would violate

due process if it permitted the use of prior crimes evidence to show propensity to commit a charged

crime. Id. at 75 n.5. While the Supreme Court has addressed whether prior acts testimony is

permissible under the Federal Rules of Evidence, see Old Chief v. United States, 519 U.S. 172

(1997); Huddleston v. United States, 485 U.S. 681 (1988), it has not explicitly addressed the issue

in constitutional terms. The Sixth Circuit has found that “[t]here is no clearly established Supreme

Court precedent which holds that a state violates due process by permitting propensity evidence in

the form of other bad acts evidence.” Bugh v. Mitchell, 329 F.3d 496, 512 (6th Cir. 2003).

               Accordingly, considered on the merits, Petitioner’s claim fails.         He has not

demonstrated that the state court’s admission of the evidence regarding the prior home invasion is

contrary to, or an unreasonable application of, clearly established federal law.

               IV.     Prosecutorial Misconduct—Use of Known Perjured Testimony
                       (Part of Habeas Issues I and II)

               In the “supporting facts” section of ground one in the habeas petition, Petitioner

closes with the phrase “use of known perjured testimony.” (Pet., ECF No. 1, PageID.6.) The

petition provides no further explanation of the issue other than that cryptic phrase. In Petitioner’s

response to Respondent’s answer, he supplies two affidavits: one from Youlando Gunn, who

swears that jailhouse informant witness, Anthony Wright, confided in Gunn that Wright intended

to set-up Petitioner for the R&K robbery; and one from Petitioner’s brother-in-law, Bradley

Nelson, who swears that investigating Detective Tim Bulthuis promised to take care of Nelson’s

tickets if Nelson testified that the significant rainstorm occurred after Nelson dropped Petitioner

at Darick’s house, instead of during the time Nelson was with Petitioner. Presumably this is the

“perjured testimony” knowingly presented by the prosecutor.           Petitioner’s claim regarding

Nelson’s testimony is also referenced in habeas ground II.

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               Petitioner presented the “perjured testimony” issue for the first time in his motion

for relief from judgment. Again, relief is barred by his procedural default; he failed to raise the

issues on direct appeal and the state court concluded there was no “cause” for that failure. Once

again, however, it is simpler to address the merits of Petitioner’s claim than it is to conduct the

procedural default analysis. Accordingly, the Court will address the issue on the merits.

               The Supreme Court repeatedly has recognized that “deliberate deception of a court

and jurors by the presentation of known false evidence is incompatible with ‘rudimentary demands

of justice.’” Giglio v. United States, 405 U.S. 150, 153 (1972) (quoting Mooney v. Holohan, 294

U.S. 103, 112 (1935)).

       The knowing use of false or perjured testimony constitutes a denial of due process
       if there is any reasonable likelihood that the false testimony could have affected the
       judgment of the jury. In order to establish prosecutorial misconduct or denial of due
       process, the defendants must show (1) the statement was actually false; (2) the
       statement was material; and (3) the prosecution knew it was false. The burden is on
       the defendants to show that the testimony was actually perjured, and mere
       inconsistencies in testimony by government witnesses do not establish knowing use
       of false testimony.

United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir. 1989) (citations omitted). See also Coe

v. Bell, 161 F.3d 320 (6th Cir. 1998). Petitioner bears the burden of demonstrating that the

testimony was actually perjured. Lochmondy, 890 F.2d at 822.

                      A.      Testimony of Anthony Wright

               Witness Anthony Wright testified at Petitioner’s preliminary examination that

Petitioner had confessed to his participation in the R&K robbery. (Prelim. Exam. Tr., ECF No. 9-

2, PageID.309-334.) Prior to testifying, Witness Wright had memorialized Petitioner’s confession

in writing. (Id.) At trial, however, Witness Wright had a change of heart. He testified that

everything in his written statement and everything in his prior sworn testimony was a lie. (Trial

Tr. Excerpt, Testimony of Anthony Wright, ECF No. 9-15, PageID.1143-1144.) The prosecutor


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grilled Wright about his change of heart. The prosecutor laid the groundwork for a claim that

Wright changed his testimony because he was afraid of the consequences of being a “snitch.”

               There can be no question that Anthony Wright provided false testimony; however,

it is not clear whether he did so at the preliminary examination or the trial. Importantly, Petitioner

has not demonstrated that the prosecutor knew that the preliminary examination testimony—the

only testimony that implicated Petitioner—was false. Indeed, it is Petitioner’s position that the

testimony the prosecutor elicited from Witness Wright at the trial was true.

               Petitioner has failed to show that the prosecutor knowingly used perjured testimony

at the trial (or the preliminary examination). Moreover, Petitioner has failed to show that the state

court’s resolution of this claim is contrary to, or an unreasonable application of, clearly established

federal law. He is, therefore, not entitled to habeas relief on this claim.

                       B.      Testimony of Bradley Nelson

               The timing of the R&K robbery could not be pinpointed with precision. Mr. Karrel

had spoken with someone on the phone at about 3:00 p.m. and Stephani returned to the store just

after 3:30, so the prosecutor argued that the robbery occurred within that window of time. Before

that window, there had been a downpour. Apparently, because it was easier for witnesses to

connect the events of that day to the timing of the downpour than to a particular time on a clock,

the prosecutor and defense counsel asked witnesses whether a particular event occurred before or

after that downpour.

               Bradley Nelson was one of the last witnesses to see Petitioner before the robbery

occurred. Nelson had taken Petitioner from Petitioner’s home, where Petitioner had talked with

his wife, to Darick’s home. To fix the time when Nelson dropped off Petitioner at Darick’s home,

the prosecutor inquired at the preliminary examination and at trial whether Nelson dropped



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Petitioner off before or after the downpour. Nelson testified at the preliminary examination and at

trial that he dropped Petitioner off at Darick’s house before the downpour.

               In Bradley Nelson’s affidavit, signed almost three years after the trial, he claims

that, right before the trial, Detective Tim Bulthuis agreed to “take care of” Nelson’s tickets if he

testified that after Nelson dropped off Petitioner at Darick’s house before the downpour. (Nelson

Affid., ECF No. 9-22, PageID.1848-1849.) Nelson, in his affidavit, claims it actually rained hard

while he was with Petitioner. Nelson claims he lied at trial and his ticket was “taken care of by

Detective Bulthuis as agreed.” (Id.) Thus, Petitioner argues, Nelson’s testimony was bought and

perjurious.

               The factual flaw in Petitioner’s position is that Nelson testified months before the

trial at Petitioner’s preliminary examination that he dropped off Petitioner before the storm.

(Prelim. Exam., ECF No. 9-2, PageID.279.) Petitioner has succeeded in showing that Nelson’s

sworn affidavit statement is inconsistent with Nelson’s sworn testimony at the preliminary

examination and at trial. That does not show which of Nelson’s sworn statements was perjurious

nor does it establish that the prosecutor had any knowledge of the alleged perjury. Moreover, it is

noteworthy that the prosecutor’s timeline was not necessarily rendered feasible or infeasible based

on whether Nelson dropped Petitioner before, during, or after the downpour. Petitioner has failed

to show that he is entitled to habeas relief based on the prosecutor’s knowing use of Nelson’s

allegedly perjurious testimony.

               V.      Prosecutorial Misconduct—Brady violation (part of Habeas Issue II)

               Under Brady v. Maryland, 373 U.S. 83 (1963), “suppression by the prosecution of

evidence favorable to an accused . . . violates due process where the evidence is material, either to

guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” Brady, 373



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U.S. at 87. The Supreme Court has held that “[t]here are three components of a true Brady

violation: [t]he evidence at issue must be favorable to the accused, either because it is exculpatory,

or because it is impeaching; that evidence must have been suppressed by the State, either willfully

or inadvertently; and prejudice must have ensued.” Strickler v. Greene, 527 U.S. 263, 281-82

(1999). Prejudice (and materiality) is established by showing that “there is a reasonable probability

that, had the evidence been disclosed to the defense, the result of the proceeding would have been

different.” Id. at 281 (quoting Bagley, 473 U.S. at 682); see also Cone v. Bell, 556 U.S. 449, 469-

70 (2009). “A reasonable probability is a probability sufficient to undermine confidence in the

outcome.” Bagley, 473 U.S. at 682.

               Petitioner contends that the prosecutor withheld exculpatory evidence. The petition

does not identify the exculpatory evidence that was allegedly withheld. The petition only states

that Petitioner learned of the evidence from his presentence investigation report. Petitioner

referenced possible Brady violations in his motion to remand and Standard 4 brief on direct appeal;

however, he did not specifically reference evidence from his presentence investigation report. The

only time Petitioner made that claim was in his motion for relief from judgment. In that motion,

Petitioner claimed that the prosecutor withheld the following information:

       Several business employees/owners in the area were questioned about whether or
       not they heard or seen anything suspicious. The only person contact that reported
       any suspicious activity was Jim Goldman. He reported arriving at work around
       10:30 a.m. He said some time between 3-4, he was walking back from getting
       lunch and observed what he thought was a “suspicious vehicle.” He observed a
       black, unknown year/make pickup truck with a Harley Davidson sticker in the rear
       slide window leave the South side of 124 Washington. He said what makes it
       suspicious was how the vehicle left the parking lot. He said the truck backed out
       of the parking lot on the south side of the alley, across the alley, and into the lot
       near 124 Washington. The truck then left at a high rate of speed through the alley.
       Goldman did not see the driver of the truck nor did he have any type of video
       surveillance.

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       It was also noted that an additional witnessed [sic] believed he heard two gunshots.
       He reported receiving from his aunt, who was working at a stare downstairs at 3:57
       p.m. telling him there had been a shooting across the street. That is when this
       witness Ellingboe went and locked the front door to the store and apartment.

(Presentence Investigation Report Excerpt, ECF No. 9-22, PageID.1842-1843.) Petitioner claims

he was not aware of any of this information before he received the presentence investigation report

(PSIR).

               At Petitioner’s sentencing hearing, he raised concerns that he was informed of these

facts for the first time in the PSIR. (Sentencing Hr’g, ECF No. 9-19, PageID.1536.) Nonetheless,

even though Petitioner referenced Brady on his direct appeal, this evidence is not identified in

Petitioner’s Standard 4 brief as evidence withheld in violation of Brady. The Michigan Court of

Appeals did not believe Petitioner raised the issue as a Brady issue on his direct appeal. That court

stated, “defendant does not identify any evidence that allegedly was withheld in this case . . . .”

(Mich. Ct. App. Op., ECF No. 9-20, PageID.1545.) As set forth below, Petitioner raised the issue

in his Standard 4 brief as an example of counsel’s ineffectiveness, i.e., counsel was constitutionally

deficient because he failed to introduce this evidence at trial. Thus, it appears Petitioner raised

these issues as a Brady issue for the first time in his motion for relief from judgment. The trial

court refused to consider them because Petitioner had failed to raise them on his direct appeal.

               Petitioner’s procedural default precludes habeas review by this Court unless he

demonstrates either (1) cause for his failure to comply with the state procedural rule and actual

prejudice flowing from the violation of federal law alleged in his claim, or (2) that a lack of federal

habeas review of the claim will result in a fundamental miscarriage of justice. See House, 547

U.S. at 536; Murray, 477 U.S. at 495; Hicks, 377 F.3d at 551-52. Typically, Brady claims are not

subject to procedural default analysis because the prosecution’s suppression of material

exculpatory evidence serves as the “cause” for defendant’s failure to raise the issue. See Banks v.


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Dretke, 540 U.S. 668, 691 (2004); Jones v. Bagley, 696 F.3d 475, 486-487 (6th Cir. 2012). Here,

however, Petitioner was fully aware of the prosecutor’s alleged suppression at the time of his

appeal. Accordingly, the suppression cannot excuse Petitioner’s failure to raise the issue on

appeal. Nonetheless, Petitioner claims he can show “cause and prejudice” and “actual innocence”

so as to avoid the procedural default bar.

               With respect to “cause and prejudice,” Petitioner offered to the trial court, and

presumably offers to this Court, the ineffective assistance of his appellate counsel as cause for his

procedural default. In Strickland v. Washington, 466 U.S. 668, 687-88 (1984), the Supreme Court

established a two-prong test by which to evaluate claims of ineffective assistance of counsel. To

establish a claim of ineffective assistance of counsel, the petitioner must prove: (1) that counsel’s

performance fell below an objective standard of reasonableness; and (2) that counsel’s deficient

performance prejudiced the defendant resulting in an unreliable or fundamentally unfair outcome.

A court considering a claim of ineffective assistance must “indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

The defendant bears the burden of overcoming the presumption that the challenged action might

be considered sound trial strategy. Id. (citing Michel v. Louisiana, 350 U.S. 91, 101 (1955)); see

also Nagi v. United States, 90 F.3d 130, 135 (6th Cir. 1996) (holding that counsel’s strategic

decisions were hard to attack). The court must determine whether, in light of the circumstances as

they existed at the time of counsel’s actions, “the identified acts or omissions were outside the

wide range of professionally competent assistance.” Strickland, 466 U.S. at 690. Even if a court

determines that counsel’s performance was outside that range, the defendant is not entitled to relief

if counsel’s error had no effect on the judgment. Id. at 691.




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               Here, even if appellate counsel performed unreasonably in failing to raise the Brady

issue, counsel’s failure had no effect on the court of appeals’ disposition, because Petitioner, with

full awareness of the issue, could have raised it, but did not raise it, in his Standard 4 brief. The

Sixth Circuit Court of Appeals recently considered the same issue in Sheffield v. Burt, 731 F. App’x

438 (2018):

       Sheffield’s ineffective assistance claim fails. An appellate attorney is not required
       to raise every conceivable issue. People v. Reed, 198 Mich.App. 639, 499 N.W.2d
       441, 445 (1993). The failure to assert all arguable claims is not sufficient to
       overcome the presumption that counsel functioned as a reasonable appellate
       attorney in selecting the issues presented. Id. Here, appellate counsel raised a
       reasonable sufficiency of the evidence claim, for which Sheffield also advocated in
       his Standard 4 brief. And as the Michigan trial court and the government note,
       Sheffield had the opportunity to raise any issues in his Standard 4 brief on direct
       appeal that he felt his appellate counsel should have raised. He did not raise the
       issue.

Sheffield, 731 F. App’x at 442 (footnote omitted). As this Court noted in Tighe v. Berghuis, No.

1:12-cv-1314, 2016 WL 5537287 (W.D. Mich. Sept 30, 2016), “Petitioner filed a ‘Standard 4’

supplemental brief and thus had the opportunity to bring any claims he desired on direct

appeal . . . Petitioner therefore cannot show prejudice from appellate counsel’s failure to raise

particular issues on direct appeal.” Id. at *4. For the same reason, Petitioner here cannot show

prejudice.

               Because Petitioner cannot show prejudice, his default bars review unless enforcing

the bar will result in a fundamental miscarriage of justice. Petitioner claims such a miscarriage of

justice will occur if the procedural default bar is enforced here because he can show that he is

actually innocent. In Schlup v. Delo, 513 U.S. 298 (1995), the Court set forth the standard by

which such claims must be judged:

       To be credible, such a claim requires petitioner to support his allegations of
       constitutional error with new reliable evidence -- whether it be exculpatory
       scientific evidence, trustworthy eye witness accounts, or critical physical evidence


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       -- that was not presented at trial. Because such evidence is obviously unavailable
       in the vast majority of cases, claims of actual innocence are rarely successful.

Schlup, 513 U.S. at 324. Given the rarity of such evidence, the allegation of actual innocence has

been summarily rejected in virtually every case. Calderon v. Thompson, 523 U.S. 538, 559 (1998).

This Court must determine whether Petitioner has demonstrated actual innocence by clear and

convincing evidence, such that his conviction represents a “fundamental miscarriage of justice.”

See Sawyer v. Whitley, 505 U.S. 333, 339 (1992). The undersigned concludes Petitioner has not

demonstrated his actual innocence.

               The possibly “new” evidence offered by Petitioner consists of the following: (1) the

affidavit of Youlando Gunn, which merely confirms Anthony Wright’s testimony at trial; (2) the

affidavit of Bradley Nelson, which, as explained above, is unconvincing and, even accepted as

true, does not foreclose Petitioner’s participation in the crime; (3) the certainly not “new” statement

by Jim Goldman that a black pickup truck left the parking lot behind R&K Jewelry during the hour

the robbery likely occurred; and the also not “new” statement that a neighbor may have heard

shots around the time of the robbery. This evidence is not clear and convincing and does nothing

to overcome the weight of the evidence showing that Darick participated directly in the robbery

and that Petitioner was with Darick at the time. The “new” evidence also fails to overcome

Petitioner’s own jailhouse confessions. Because Petitioner has failed to show cause for his

procedural default or that he is actually innocent, the Court is barred from reviewing Petitioner’s

Brady claim.

               Even if the Court considered Petitioner’s Brady claim on the merits, Petitioner

would not be entitled to relief. Petitioner has failed to show any of the three components of a

Brady claim. First, Petitioner has failed to show that the evidence was suppressed. The initial

PSIR’s “Description of the Offense” included statements regarding the initial police investigation


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following the shootings. Those statements are obviously taken from the police reports. Petitioner

does not contend that the defense was denied the police reports. Indeed, they were referenced

during the trial.

                Petitioner has also failed to show that the evidence was exculpatory. R&K Jewelry

is in the commercial district in downtown Grand Haven. The fact that a black pickup truck left a

parking lot in the downtown shopping district at a high rate of speed during the hour that the

robbery occurred does not make it less likely that Petitioner was with his brother when Darick

robbed the store. Similarly, evidence that someone across the street thought they heard two shots

and, at 3:57 p.m. when they learned a shooting had indeed occurred, locked their doors, does not

make it less likely the Petitioner was with his brother when Darick robbed the store. This evidence

was not absent from the trial because it was suppressed, it was absent from the trial because it was

immaterial.

                Finally, Petitioner has failed to show any prejudice. Petitioner offers nothing to

show that the result would have been any different if the jury had learned of the black pickup truck

or the person across the street who heard the shots. The Court is barred from considering this

claim because of Petitioner’s procedural default; but, even absent the bar, Petitioner is not entitled

to habeas relief.

                VI.    Sufficiency of the Evidence (habeas issue III)

                A § 2254 challenge to the sufficiency of the evidence is governed by the standard

set forth by the Supreme Court in Jackson v. Virginia, 443 U.S. 307, 319 (1979), which is

“whether, after viewing the evidence in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt.” This

standard of review recognizes the trier of fact’s responsibility to resolve reasonable conflicts in



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testimony, to weigh the evidence, and to draw reasonable inferences from basic facts to ultimate

facts. Id. Issues of credibility may not be reviewed by the habeas court under this standard. See

Herrera v. Collins, 506 U.S. 390, 401-02 (1993). Rather, the habeas court is required to examine

the evidence supporting the conviction, in the light most favorable to the prosecution, with specific

reference to the elements of the crime as established by state law. Jackson, 443 U.S. at 324 n.16;

Allen v. Redman, 858 F.2d 1194, 1196-97 (6th Cir. 1988).

               Moreover, because both the Jackson standard and AEDPA apply to Petitioner’s

claims, “the law commands deference at two levels in this case: First, deference should be given

to the trier-of-fact’s verdict, as contemplated by Jackson; second, deference should be given to the

Michigan Court of Appeals’ consideration of the trier-of-fact’s verdict, as dictated by AEDPA.”

Tucker v. Palmer, 541 F.3d 652, 656 (6th Cir. 2008).             This standard erects “‘a nearly

insurmountable hurdle’” for petitioners who seek habeas relief on sufficiency-of-the-evidence

grounds. Davis v. Lafler, 658 F.3d 525, 534 (6th Cir. 2008) (quoting United States v. Oros, 578

F.3d 703, 710 (7th Cir. 2009)).

               The Michigan Court of Appeals resolved Petitioner’s sufficiency challenge as

follows:

       We review a challenge to the sufficiency of the evidence de novo by viewing the
       evidence presented at trial in a light most favorable to the prosecution to determine
       whether a rational trier of fact could have found that the essential elements of the
       crimes charged were proven beyond a reasonable doubt. People v. Harrison, 283
       Mich.App. 374, 377-378, 768 N.W.2d 98 (2009).

       The elements of first-degree premeditated murder are an intentional killing of a
       human with premeditation and deliberation. People v. Unger, 278 Mich.App. 210,
       223, 229, 749 N.W.2d 272 (2008). “The elements of first-degree felony murder are
       (1) the killing of a human being, (2) malice, and (3) the commission, attempted
       commission, or assisting in the commission of one of the felonies enumerated in
       MCL 750.316(1)(b).” People v. Watkins, 247 Mich.App. 14, 32, 634 N.W.2d 370
       (2001). Robbery is a listed felony. MCL 750.316(1)(b). “The elements of armed
       robbery are (1) an assault and (2) a felonious taking of property from the victim’s
       person or presence (3) while the defendant is armed with a dangerous weapon.”
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       Watkins, 247 Mich.App. at 33, 634 N.W.2d 370. A person who aids and abets in
       the commission of an offense may be convicted and punished as a principal. People
       v. Moore, 470 Mich. 56, 63, 679 N.W.2d 41 (2004). The elements that must be
       proven to convict a defendant as an aider and abettor are (1) the crime charged was
       committed by the defendant or some other person, (2) the defendant aided and
       abetted the commission of the crime, and (3) the defendant intended to aid the
       charged offense and knew that the principal intended to commit the charged offense
       or the charged offense was a natural and probable consequence of the commission
       of the intended offense. Id. at 67-68, 679 N.W.2d 41; People v. Robinson, 475
       Mich. 1, 15, 715 N.W.2d 44 (2006).

       Defendant does not dispute that any of the crimes occurred or that codefendant
       Darick Anderson committed them. Rather, he focuses on the lack of physical and
       eyewitness evidence connecting him to the crimes, the inconsistent witness
       testimony connecting him with Darick on the day of the offense, inmate Anthony
       Wright’s recantation of his prior testimony, and the lack of credibility of Darnell
       Barnes, another jail inmate. However, circumstantial evidence is sufficient to prove
       the elements of a crime and all conflicts in the evidence must be resolved in favor
       of the prosecution. Unger, 278 Mich.App. at 223, 749 N.W.2d 272. Further, this
       Court may not “interfere with the jury’s determinations regarding the weight of the
       evidence and the credibility of the witnesses.” Id at 222, 749 N.W.2d 272.

       Barnes testified that defendant confessed to him that he shot the victims. Wright
       previously testified that defendant confessed his participation in the crimes but
       recanted his prior testimony at trial. Wright admitted that personal items were
       stolen from his cell after he testified against defendant at the preliminary
       examination, and that he thereafter feared for his family’s safety. The jury could
       have determined, then, that Wright’s recantation was motivated by fear of reprisal.
       Patricia Rogers’s testimony placed defendant with codefendant Darick Anderson
       in Muskegon Heights shortly after a heavy rainstorm, which was approximately
       2:45 p.m., according to witness testimony, which would have given defendant and
       Darick sufficient time to reach Grand Haven, a 15-minute drive, to commit the
       crimes between 3:00 and 3:30 p.m. The jury was free to reject defendant’s wife’s
       estimation of when defendant left their home that afternoon, which she claimed was
       around 3:10 p.m. Viewed in the light most favorable to the prosecution, the
       evidence was sufficient to enable the jury to find beyond a reasonable doubt that
       defendant committed the crimes with codefendant Darick Anderson and was guilty
       as either a direct principal or as an aider and abettor.

(Mich. Ct. App. Op., ECF No. 9-20, PageID.1543-1544.)

               Although the court of appeals cited state authority for the sufficiency standard it

employed, the standard was the same as the Jackson standard. Thus, it cannot be said that the state

appellate court applied the wrong standard. Moreover, the state court applied the standard


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reasonably. It reviewed the evidence against the elements of the crimes charged and concluded

that the evidence, viewed in a light that favors the prosecution, is sufficient to establish the

elements of the crime.

                Petitioner attacks the state court’s resolution of the sufficiency issue by inviting the

Court: (1) to view the evidence in a light that favors him; or (2) to require that the prosecutor

provide eyewitness testimony that Petitioner was at the scene of the crime when it occurred. The

Court rejects both invitations. Viewing the evidence in a light that favors Petitioner flies in the

face of the Jackson requirement that the evidence be considered in a light that favors the

prosecutor. Requiring the prosecutor to supply an eyewitness to Petitioner’s presence at the crime

scene ignores the Jackson requirement to respect the jury’s right to infer ultimate facts from the

circumstantial evidence presented. Moreover, Petitioner’s contention that no evidence places him

at the scene of the crime conveniently ignores his confessions to witnesses Wright and Barnes.

                Petitioner has failed to overcome the double deference owed to the state courts’

resolution of the sufficiency issue. Petitioner has failed to demonstrate that the Michigan Court of

Appeals determinations of fact are unreasonable on this record. He has likewise failed to show

that the Michigan Court of Appeals’ conclusion—that the evidence against Petitioner was

sufficient—is contrary to, or an unreasonable application of, Jackson. Accordingly, he is not

entitled to habeas relief.

                VII.     Ineffective Assistance of Counsel (habeas issue IV)

                Petitioner claims that his trial counsel and his appellate counsel rendered ineffective

assistance in violation of the Sixth Amendment. For the reasons set forth above, Petitioner cannot

show prejudice from appellate counsel’s alleged failures to raise issues on appeal. Petitioner had

the opportunity to raise the issues in his Standard 4 brief and he did not. With respect to trial



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counsel, Petitioner raises two concerns: (1) counsel did not prepare for trial; and (2) counsel did

not investigate and call a witness that Petitioner wanted to be present. (Pet., ECF No. 1,

PageID.10.)

                Petitioner specifically raised the failure to prepare for trial and the failure to

investigate and call Petitioner’s witness in his Standard 4 brief. The Michigan Court of Appeals

rejected both claims:

       Second, defendant asserts that trial counsel was ineffective for failing to prepare
       for trial and for failing to adequately familiarize himself with the case and pursue
       leads provided by defendant. Although a defense attorney’s failure to reasonably
       investigate a case can constitute ineffective assistance of counsel, People v.
       McGhee, 268 Mich.App. 600, 626, 709 N.W.2d 595 (2005), defendant here does
       not specify what counsel was unfamiliar with or what leads he failed to pursue.
       Thus, defendant has failed to show either the requisite deficient performance by
       counsel or any resulting prejudice. Hoag, 460 Mich. at 6, 594 N.W.2d 57; People
       v. Caballero, 184 Mich.App. 636, 640, 459 N.W.2d 80 (1990).

                                                 *       *      *

       Eighth, defendant asserts that trial counsel was ineffective for failing to call
       witnesses to bolster defendant’s alibi, or to do so through testifying witness Bradley
       Nelson.4 Although defendant contends that “Rock” would have testified that he
       was with defendant from 10:30 a.m. to 1:15 p.m., because the evidence showed that
       the crimes were committed later in the afternoon, Rock’s testimony would not have
       aided an alibi defense. Thus, counsel’s failure to call this witness did not deprive
       defendant of a substantial defense.
       4
         Defendant does not specify the nature of his alibi other than to cite cell phone records that placed
       him in Muskegon Heights at 3:40 p.m.

(Mich. Ct. App. Op., ECF No. 9-20, PageID.1546-1547.)

                Petitioner offers nothing in his petition or his response to Respondent’s answer to

cast any light on his overly general and conclusory contention that counsel failed to prepare for

trial. His statement of the habeas issue is, essentially, his entire argument: “counsel failed to

prepare for trial . . . .” As noted by the court of appeals, turning to Petitioner’s briefs on direct

appeal does nothing to further illuminate his “general failure to prepare” claim in that court.


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                Petitioner has failed to demonstrate that the state appellate court’s determinations

with regard to counsel’s general lack of preparation or failure to make use of “Rock’s” testimony

are contrary to, or an unreasonable application of, Strickland.            Without something more

Petitioner’s claim fails.

                Perhaps Petitioner intended that “something more” to be the several other

allegations of ineffectiveness in his Standard 4 brief. Petitioner raised many other ineffective

assistance of counsel claims. The Michigan Court of Appeals rejected those as well:

        Defendant first argues that trial counsel was ineffective for failing to investigate
        and learn of the prosecutor’s tendency to withhold exculpatory evidence. Because
        defendant does not identify any evidence that allegedly was withheld in this case,
        he has not satisfied his burden of establishing the factual predicate for his claim.
        People v. Hoag, 460 Mich. 1, 6, 594 N.W.2d 57 (1999). To the extent defendant
        refers to the prosecution’s alleged failure to discover exculpatory evidence, as
        previously discussed in section II(A), the prosecutor has no such duty. Thus, there
        is no merit to this claim.

                                            *      *     *

        Third, defendant asserts that trial counsel was ineffective for failing to file a motion
        for a change of venue based on pretrial publicity. However, defendant has not
        provided any evidence of the pretrial publicity that this case received, or any
        evidence suggesting that the jurors were not impartial. Thus, he has not established
        the factual predicate for this claim. Hoag, 460 Mich. at 6, 594 N.W.2d 57. Further,
        by failing to provide any supporting argument for his position, he has abandoned
        review of this claim. Coy, 258 Mich.App. at 19-20, 669 N.W.2d 831. Accordingly,
        this claim cannot succeed.

        Fourth, defendant asserts that trial counsel was ineffective for failing to file a bill
        of particulars. However, a bill of particulars was unnecessary because the
        preliminary examination adequately informed defendant of the charges against him.
        People v. Harbour, 76 Mich.App. 552, 557, 257 N.W.2d 165 (1977).

        Defendant also asserts that counsel was ineffective for failing to file a motion for
        discovery, but the record discloses that such a motion was filed. Defendant’s
        argument appears to be focused more on counsel’s non-use of the DNA evidence
        on the office safe from which he was excluded as a donor. Decisions regarding
        what evidence to present and whether to call or question witnesses are presumed to
        be matters of trial strategy. People v. Dixon, 263 Mich.App. 393, 398, 688 N.W.2d
        308 (2008). The failure to call a witness or present other evidence can constitute
        ineffective assistance of counsel only when it deprives the defendant of a

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      substantial defense. People v. Payne, 285 Mich.App. 181, 190, 774 N.W.2d 714
      (2009). A substantial defense is one that might have made a difference in the
      outcome of the trial. People v. Chapo, 283 Mich.App. 360, 371, 770 N.W.2d 68
      (2009).

      The absence of defendant’s DNA on the office safe does not mean that defendant
      was not at the store, only that he did not touch the safe or did not leave DNA
      material. Because neither party presented the evidence, defense counsel was able
      to argue that there was no physical evidence of defendant’s presence at the crime
      scene. Defense counsel’s decision not to present the negative DNA results was
      reasonable trial strategy, which did not deprive defendant of a substantial defense.
      This Court will not substitute its judgment for that of counsel regarding matters of
      trial strategy, nor will it assess counsel’s competence with the benefit of hindsight.
      Payne, 285 Mich.App. at 190, 774 N.W.2d 714. Accordingly, this ineffective
      assistance of counsel claim is without merit.

      Fifth, defendant asserts that trial counsel was ineffective for failing to object to
      Herkie Jewell’s repeated hearsay testimony regarding statements made by
      codefendant Darick Anderson. Defendant contends that the statements unfairly
      prejudiced him and violated his right of confrontation. A decision not to object to
      evidence can be sound trial strategy. Unger, 278 Mich.App. at 242, 253, 749
      N.W.2d 272. Here, defendant has not overcome the presumption that defense
      counsel reasonably allowed Jewell to testify regarding Darick Anderson’s
      statements as a matter of trial strategy, in order to deflect culpability from defendant
      and portray Darick as the person with knowledge of the store, and then idea of how
      to commit the crimes. Indeed, this was consistent with the defense theory at trial.
      Therefore, defendant has failed to establish that counsel was ineffective. Payne,
      285 Mich.App. at 190, 774 N.W.2d 714.

      We also reject defendant's argument that Darick Anderson’s statements violated the
      Confrontation Clause. “The Confrontation Clause of the Sixth Amendment bars
      the admission of testimonial hearsay unless the declarant is unavailable and the
      defendant has had a prior opportunity for cross-examination.” Id. at 197, 774
      N.W.2d 714, citing Crawford v. Washington, 541 U.S. 36, 68 (2004). Statements
      are testimonial when they are made under circumstances that would lead an
      objective declarant reasonably to believe that the statement would be available for
      use in a later trial or criminal prosecution. People v. Lonsby, 268 Mich.App. 375,
      377, 707 N.W.2d 610 (2005), citing Crawford, 541 U.S. at 51-52. In this case,
      Darick made the challenged statements in the presence of defendant and Jewell.
      There is no indication that he expected the statements to be used in a later trial or
      criminal prosecution. Thus, the statements are non-testimonial and their admission
      does not violate the Confrontation Clause.

      Sixth, defendant asserts that trial counsel was ineffective for failing to learn of the
      prosecution’s deal with Jewell in exchange for his testimony. However, the record
      fails to disclose that any deal existed, the prosecution explicitly denies any such
      deal, and defendant has not provided any evidence of any deal. Thus, defendant

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        has failed to establish the factual predicate for this claim. Hoag, 460 Mich. at 6,
        594 N.W.2d 57.

        Seventh, defendant asserts that trial counsel was ineffective for failing to effectively
        impeach witnesses Jewell, Rogers, Barnes, and Wright. The record discloses that
        counsel attempted to impeach each of these witnesses. Defendant does not explain
        how defense counsel’s cross-examination could have been more thorough. Again,
        therefore, defendant has failed to establish the factual predicate for his claim.

                                             *      *      *

        Ninth, defendant asserts that counsel was ineffective for failing to call witnesses to
        rebut the prosecution’s timeframe for when the crimes occurred. However, the
        witness who heard gunshots did not specify what time he heard them, only that he
        received a call at 3:57 p.m. informing him of the store shootings. Another witness
        told the police that he saw a suspicious person in a black truck leave the scene
        sometime between 3:00 and 4:00 p.m. Additionally, the police discovered that the
        time stamp on the store’s credit card machine was 30 minutes fast after a company
        representative explained to an officer the machine’s internal verification process.
        Thus, contrary to what defendant argues, the evidence indicated that the last credit
        card purchase was at 3:01 p.m., not 3:31 p.m. Defendant does not suggest that the
        police investigation was flawed. Therefore, defendant has failed to show that any
        of the alleged witnesses would have aided in rebutting the prosecution’s timeframe.
        Accordingly, defense counsel was not ineffective for failing to call these witnesses.

        Tenth, because we have not found any instances in which trial counsel was
        ineffective, defendant’s assertion that counsel’s cumulative failures denied him a
        fair trial lacks merit. Unger, 278 Mich.App. at 258, 749 N.W.2d 272.

(Mich. Ct. App. Op., ECF No. 9-20, PageID.1545-1548.) Of these, only Petitioner’s first, third,

fourth, and sixth call into question trial counsel’s preparation for trial.

                To the extent Petitioner was elaborating on the “general failure to prepare” claim

in his first, third, fourth, and sixth assertions of counsel’s ineffectiveness, the state appellate court’s

resolutions of those claims reveal them to be factually and legally devoid of merit. The record

does not support Petitioner’s claims that the prosecutor withheld evidence, that a change of venue

was appropriate, that Petitioner’s notice of the charges was inadequate, that counsel failed to

pursue discovery, or that there was a “deal” between witness Herkie Jewell and the prosecutor.

The state appellate court’s determinations regarding those claims are well-supported in the record.


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Petitioner offers no facts or legal argument that might undermine those determinations because he

offers no facts or argument at all.

               Petitioner’s further assertion that counsel inexplicably ignored a defense when he

did not call the state police DNA expert at trial is similarly without merit. Counsel argued that the

investigators “DNA’d this stuff . . . they didn’t get anything.” (Trial Tr. I, ECF No. 9-12,

PageID.532-533); see also (Id. at 550; Trial Tr. V, ECF No. 9-18, PageID.1442). Witness Robert

Hackerd of the state police crime lab testified that the DNA tests turned up nothing. (Trial Tr. II,

ECF No. 9-13, PageID.863-864.) To focus more attention on the absence of DNA would have

simply invited expert comment on all the reasons that one would not necessarily expect to find

DNA at the scene. This Court has noted the validity of the often-recited aphorism: “the absence

of evidence is not the evidence of absence.” Nofsinger v. Comm. of Soc. Sec., No. 1:09-cv-29,

2010 WL 2651600 at *2 (W.D. Mich. July 1, 2010) (emphasis in original, footnote omitted). The

Sixth Circuit has offered a refinement of the saying that supports counsel’s approach here: “[a]n

explained absence of evidence . . . is not evidence of absence.” Presnall v. Huey, 657 F. App’x

508, 512 (6th Cir. 2016) (emphasis supplied). Thus, the state appellate court’s conclusion that

counsel’s strategy in dealing with the DNA evidence was reasonable is also well-supported in the

record and entirely consistent with Strickland.

               Perhaps in complaining about counsel’s general failure to prepare for trial,

Petitioner is referring to the elaborations in his motion for relief from judgment. In that motion

Petitioner challenged counsel’s failure to hire a private investigator or expert witness, failure to

investigate the prosecution’s witnesses to assess their reliability and credibility, and failure to

subpoena Darick Anderson. The trial court would not consider those claims because Petitioner

had failed to show cause for failing to raise them on his direct appeal. Those claims, therefore, are



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barred by Petitioner’s procedural default and, as explained above, Petitioner has failed to show

“cause and prejudice” or “actual innocence” to avoid the bar.

               Accordingly, Petitioner’s contention that his appellate and trial counsel were

ineffective is without merit.

                                   Certificate of Appealability

               Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

appealability should be granted. A certificate should issue if Petitioner has demonstrated a

“substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

Circuit Court of Appeals has disapproved issuance of blanket denials of a certificate of

appealability. Murphy v. Ohio, 263 F.3d 466 (6th Cir. 2001). Rather, the district court must

“engage in a reasoned assessment of each claim” to determine whether a certificate is warranted.

Id. at 467. Each issue must be considered under the standards set forth by the Supreme Court in

Slack v. McDaniel, 529 U.S. 473 (2000). Murphy, 263 F.3d at 467. Consequently, I have

examined each of Petitioner’s claims under the Slack standard. Under Slack, 529 U.S. at 484, to

warrant a grant of the certificate, “[t]he petitioner must demonstrate that reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or wrong.” Id. “A

petitioner satisfies this standard by demonstrating that . . . jurists could conclude the issues

presented are adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537

U.S. 322, 327 (2003). In applying this standard, the Court may not conduct a full merits review,

but must limit its examination to a threshold inquiry into the underlying merit of Petitioner’s

claims. Id.




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                I find that reasonable jurists could not conclude that this Court’s dismissal of

Petitioner’s claims would be debatable or wrong. Therefore, I recommend that the Court deny

Petitioner a certificate of appealability.

                                     Recommended Disposition

                For the foregoing reasons, I recommend that the habeas corpus petition be denied.

I further recommend that a certificate of appealability be denied.



Dated: August 31, 2018                                       /s/ Ray Kent
                                                             United States Magistrate Judge


                                      NOTICE TO PARTIES

Any objections to this Report and Recommendation must be filed and served within 14 days of
service of this notice on you. 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b). All objections and
responses to objections are governed by W.D. Mich. LCivR 72.3(b). Failure to file timely
objections may constitute a waiver of any further right of appeal. United States v. Walters, 638
F.2d 947 (6th Cir. 1981); see Thomas v. Arn, 474 U.S. 140 (1985).




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